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                             UNITED STATES OF AMERICA
                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                 Case No. 1:13-cr-00244-PLM-4
                                    )
v.                                  )                 Honorable Paul L. Maloney
                                    )
ERIC LOPEZ,                         )
                                    )
            Defendant.              )
____________________________________)


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on November 13, 2014, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Eric Lopez entered a plea of guilty to Count 1 of the Third Superseding

Indictment in exchange for the undertakings made by the government in the written plea agreement.

In Count 1 of the Third Superseding Indictment, defendant is charged with conspiracy to possess

with intent to distribute and to distribute at least 500 grams of cocaine, a Schedule II controlled

substance, and a quantity of marijuana, a Schedule I controlled substance, in violation of Title 21,

United States Code, sections 846, 841(a)(1), 841(b)(1)(A)(ii) and 841(b)(1)(D). On the basis of the

record made at the hearing, I find that defendant is fully capable and competent to enter an informed

plea; that the plea is made knowingly and with full understanding of each of the rights waived by

defendant; that it is made voluntarily and free from any force, threats, or promises, apart from the
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promises in the plea agreement; that the defendant understands the nature of the charge and penalties

provided by law; and that the plea has a sufficient basis in fact.

               Accordingly, I recommend that defendant's plea of guilty to Count 1 of the Third

Superseding Indictment be accepted, that the court adjudicate defendant guilty, and that the written

plea agreement be considered for acceptance at the time of sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are specifically

reserved for the district judge.



Date: November 13, 2014                                /s/ Phillip J. Green
                                                      PHILLIP J. GREEN
                                                      United States Magistrate Judge




                                      NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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